Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 1 of 45

Douglas B. Tumminello, #7-5653

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lN THE UNITEI) STATES DISTRICT COURT
FOR THE DISTRICT OF WYOIVIING

Civil Action No. Q;IQ-cv- 3 §/S

SMCG, LLC, A Wyoming Limited Liability Co.,
Plaintiff,

V.

ZENITH EDUCATION GROUP, INC., a
Delaware nonprofit corporation, and,

ECl\/IG GROUP, INC., a Delaware nonprofit corporation

Defendant.

 

NOTICE OF REM()VAL

 

Defendants Zenith Education Group, Inc. and ECMC Group, Inc. (“Defendants”), by and
through their undersigned counsel, Lewis Roca Rothgerber Christie LLP, pursuant to 28 U.S.C.
§§ 1332, 1441 and 1446, hereby give notice ofthe removal of` this action from the District Court
for the Second Judicial District, County ot`Albany, State of`Wyoming, to the United States
District Court for the District of Wyoming. In support of Said removal, Defendants State as

follows:

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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 2 of 45

INTRODUCTION

l. On or about January l4, 2019, Plaintiff initiated this action by filing its Complaint
in the Albany County District Court, State of Wyoming, Case No. 34764 (“State Action”). See
Pltt’s Compl., attached as Exhibit A.

2. Plaintiff"s Complaint asserts two claims for relief against Defendants, including a
First Claim for Relief for Breach of Contract and a Second Claim for Relief Breach of the
Covenant of Good Faith and Fair Dealing.

3. This action arises out of two Lease Agreements for properties located in Laramie,
Wyoming.

COMPLIANCE WITH THE RULES

4. All procedural requirements related to the removal of this action have been
satisfied

5. On or about January 25, 2019, Plaintiff informally provided a copy of Plaintiff’s
Complaint to counsel for Zenith Education Group, Inc. (“Zenith”).

6. On February 4, 2019, Plaintift` served Zenith with a Summons and copy of
Plaintiff’s Complaint through Zenith’s registered agent, CT Corporation. See Retum of Service,
attached as Exhibit B.

7. ECMC Group, Inc. (“Group”) has not been served with a Summons and a copy of
Plaintiff's Complaint as of the date of this filing. Counsel for Group has informed counsel for the
Plaintiff that they are willing to accept service of the Summons and Complaint, but have not yet

a formal waiver and acceptance of service from the Plaintiff.

107301132_1 - 2 -

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 3 of 45

8. This Notice of Removal is filed Within thirty (30) days of receipt by Defendants
of the Complaint and is, therefore, timely pursuant to 24 U.S.C. §§ 1441 and 1446(b).

9. Concurrent with this Notice of Removal, Defendants have filed a Notice of Filing
of State Court Records pursuant to 28 U.S.C. § l446(a) and Local Rule 81.1. This includes a true
and correct copy of the state court docket, which includes all state court pleadings, motions and
other papers known to have been served on Defendants.

10. Pursuant to 28 U.S.C. § l446(a), a true and correct copy of Plaintiff’s Summons
and Complaint (Exhibit A) is attached to this Notice of Removal.

ll. Pursuant to 28 U.S.C. § l446(d), a copy of this Notice of Removal is being served
upon counsel for Plaintiff.

12. Pursuant to 28 U.S.C. § l446(d) and Local Rule 81.1, Defendants are filing a
Notice of Filing of Notice of Removal, including a copy of this Notice of Removal, in the
pending State Action, Case No. 34764, Albany County District Court, State of Wyoming. A
copy of the Notice of Filing of Notice of Removal is attached hereto as Exhibit C (without
attached exhibits).

13. Pursuant to Local Rule 81.1, Defendants state that no hearings or motions are
pending, nor has any trial been set in the State Action.

14. Pursuant to Fed.R.Civ.P. 81(c), Defendants will present their defenses by
pleading at the time prescribed therein, and specifically reserve their right to assert all defenses,
including those defenses under Fed.R.Civ.P. 12(b).

15. Venue is proper in the District of Wyoming because this District embraces the

location Where the State Action is pending. See 28 U.S.C. § 1446(c).

107301132_1 - 3 -

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 4 of 45

16. Both Defendantsjoin in this Notice of Removal.
DIVERSITY JURISDICTION

17. Plaintiff’s Complaint asserts claims over which this Court has jurisdiction
pursuant to 28 U.S.C. § 1332 because: (a) the parties are citizens of different states, and (b) the
amount in controversy exceeds $75,000.

A. THE PARTIES ARE CITIZENS OF DIFFERENT STATES

18. Plaintiff SMCG, LLC is a Wyoming limited liability company authorized to
conduct business in the state of Wyoming, with its principal place of business in Albany County,
Wyoming. Upon information and belief, each of the members of SMCG, LLC are domiciled in
Wyoming and are citizens of the state of Wyoming. Plaintiff is a citizen of Wyoming. See Siloam
Springs Hotel, L.L.C. v. Century Sur. Co., 781 F.3d 1233, 1237 (10th Cir. 2015).

19. Defendant Zenith is a Delaware nonprofit corporation with its principal place of
business in Minneapolis, Minnesota. Defendant Zenith is a citizen of the states of Delaware and
Minnesota. See 28 U.S.C. § 1332(c)(1).

20. Defendant Group is a Delaware nonprofit corporation with its principal place of
business in Minneapolis, Minnesota. Defendant Group is a citizen of the states of Delaware and
Minnesota. ld.

21. For purposes of federal diversity jurisdiction, the parties are completely diverse.
B. THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

22. While not waiving Defendants’ right to contest the issue, Plaintif`f seeks a

monetary judgment in excess of $75,000, exclusive of interest and costs.

107301132_1 ~ 4 -

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 5 of 45

23. Removal of the action is proper on the basis of an amount in controversy if the
district court finds, by the preponderance of the evidence, that the amount in controversy exceeds
$75,000. 28 U.S.C.A. § 1446.

24. “The amount in controversy is ordinarily determined by the allegations of the
complaint, or, where they are not dispositive, by the allegations in the notice of removal.”
Archer v. Kelly, 271 F. Supp. 2d 1320, 1322 (N.D. Okla. 2003).

25. In determining the amount in controversy, a court may look to the object sought
to be accomplished by the plaintiffs complaint. Ronzio v. Denver & R. G. W.R. Co., l 16 F.2d
604, 606 (10th Cir. 1940). “The test for determining the amount in controversy is the pecuniary
result to either party which the judgment would produce.” Id.

26. When a defendant seeks federal court adjudication, the defendant’s stated amount
in controversy allegation should be accepted when not contested by the plaintiff or questioned by
the court. Dart Cherokee Basin Operating Company, LLC v. Owens, 135 S.Ct. 547, 553 (2014).
A defendant’s notice of removal need include only a plausible allegation that the amount in
controversy exceeds thejurisdictional threshold. Id. at 554.

27. Information relating to the amount in controversy in the record of the state
proceeding, or in response to discovery, shall be treated as an “other paper.” 28 U.S.C.

§ 1446(c)(3)(A).

28. A plaintiffs pre-litigation demand or settlement offer is evidence of the amount in

controversy. Archer v. Kelly, 271 F. Supp. 2d 1320, 1322 (N.D. Okla. 2003); McPhail v.

Deere & Co., 529 F.3d 947, 956 (10th Cir. 2008).

107301132_1 - 5 -

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 6 of 45

29. ln the Complaint, Plaintifi" alleges that the “amount in controversy exceeds the
sum or value of$50,000.00, exclusive of interest and costs.” (emphasis added). Exhibit A at 11 4.

30. Moreover, Plaintiff has previously demanded as much as $555,465.15 to resolve
its claims. See Demand, Exhibit D. Plaintiff` s demand included an itemized calculation of
damages and a recitation of underlying facts in support of its demand. Id.

31. Based on the foregoing, the jurisdictional amount in controversy exceeds
$75,000.00, exclusive of interest and costs, and therefore, this action may properly be removed
to this Court pursuant to 28 U.S.C. §§ 1441 and 1446_

32. Accordingly, this Court has original jurisdiction over this action pursuant to
28 U.S.C. § 1332.

WHEREFORE, Defendants Zenith Education Group, Inc. and ECMC Group, Inc. request
that the action now pending in the Albany County District Court, Case No. 34764, be removed
therefrom to this Court and that all further proceedings be heard in this Court.

Respectfully submitted this 19th day of February, 2019.

LEWIS ROCA ROTHGEjCHRISTlE LLP
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o€ti§ias B. rum ir§ll’@, #7-5653
1200 17th Street Suite 3000
Denver, CO 802 2

Phone: (303) 6 3-9000

E-mail: dtumminello@lrrc.com

 

A trr)rney.s'_/or Defendanr.s

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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 7 of 45

CERTIFICATE OF SERVICE

l hereby certify that on this 19th day of February 2019, a true and correct copy of the
foregoing NO'I`ICE ()F REMOVAL was filed and was served upon the following:

Henry F. Bailey .lr., Esq.

Douglas W. Bailey, Esq.

Bailey Stock Harrnon Cottam Lopez LLP
221 East 2lst Street

P.O. Box 1557

Cheyenne, WY 82003

307-638-7745

Atrorneysfor Plaimg`ff

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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 8 of 5
EXHIBIT A

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IN THE DISTRICT COURT FOR THE SECOND JUDICIAL DISTRICI`
STATE OF WYOMING, COUNTY OF ALBANY
SMCG, LLC, A Wyoming Limited Liability Co.,
Plaintiff,

vs. Case No. 34764
ZENITH EDUCATION GROUP, INC., a
Delaware mnpm&t corporation, and ECMG
GROUP, INC., a Delaware nonprofit corporation

Defendants:

VVVVVVWVWVV

 

SUMMONS -

To the above-named Defendant:

Zenith Education Group, Inc.
clo CI' Corporation System
1908 Thomes Ave.
Cheyenne, WY 82001

YOU ARE HEREBY SUMMONED and required to file with the Clerk and serve upon the
P|aintiff's attorney an answer to the Complaint and ]u)y Demand which is herewith served upon
you, within 20 days after service of this Summons upon you, exclusive of the date of service. (If
service upon you is made outside of the State onyoming, you are required to file and serve your
answer within 30 days after service of this Summons upon you, exclusive of the date of service.)
If you fail to do so, judgment by default will be taken against you for the relief demanded in the
Complaint,

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Deputy Clerk

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P. O. Box 1557

221 East21stSueet
Cheyenne. Wyoming 82003
307-638-7745

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 10 of 45

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Dnagias W. Bailey

BAI|.£Y S'IOCK l'lARMCN CO'ITAM m LLP
221 mzl'$tmu _ -
F.O. Box 1557

Cbcycnne, W¥ m
307-638-7145

lN THE DISTRICT COURT FOR THE SECOND JUDICIAL DIS'I'RICT

STATE OF WYOi\/Ill\lG, COUNTY OF ALBANY

Docuec. __No._.Z§_/Zéi

sMcG, LLc, A wyoming umwa liability eo.,
Pla'mtiff,

VS.

 

ZENITH EDUCATION GROUP, INC., a
Delaware nonprofit corporation, and

ECMG GROUP, INC., a Delaware nonprofit
corporation

 

 

Defendants.

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COMPLAINT

 

Piaintiff, for its claims for relief against Defendants, alleges as follows:
JURISDICTIONAL ALLEGATIONS
1. Plaintiff SMOG, `LLC, is.a Wyoming limited liability company, authorized to.
conduct business in the state of Wyoming, with its principal office and place of business in Albany
County, Wyoming. SMCG is a successor in interest to Curt N. Blaloe and Chad D. Biake and
DWN, LLC and Robert D. Blake and Ruth IBlake for the properties forming the subject matter of

this case.

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 11 of 45

2- Defendant Zenith Education Group, Inc. is a Delaware corporation, who at all times
. relevant to Plaintiff’s claims, was authorized to condgct business in the state onyoming and who
operated the Wyoming Technical Institute ' in Lararnie, Wyoming. Zenith is a
suwessor-in-interest to MJB Aequisition Corp.

3. Defendant ECMC Group, Inc. is a Dd_aware nonprofit corporation that guaranteed
mo loose obligations or Defendant zonim, and thus was doing business to rao sine orwyomiog n
all times relevant to Plaintiff's claims. (A copy of the Guaranty is attached hereto and
incorporated by this reference as Exhibit 1.)

4. The amount in controversy exceeds the sum or value of $50,000.00, exclusive of
interest and costs.

5. Venue is proper in the District Court for Albany County, Wyoming.
FACI`S COMMON TO ALL CLAIMS FOR RELIEF

6. On Novem_ber 26. 2014, Defendant Zenith entered into a Lease Assignmem and
Assumption with MIB Aequisition Corporation (_Zenith’s predecessor in interest), in which
Zenith was assigned and assumed the lease agreements for the following properties in Laracnie_,
Albany County. Wyoming: l

(a) 715 & 721 Downey
t (b) 709 Downey - .

(A copy or mo tone Assignmon and Assmnpaon is erection hereto and incorporated as
notion 2)

7. ngraph 8 of the original May 5_. 1998 lease for 715 & 721 Downey concerns
maintenance and restoration of the leased premises and provides:

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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 12 of 45

- 8. I_’remises,l~`umishii_i_g§,Btc. pucingthetermofthis'lease.
._Agreement acid a'ii'y extensions or renewals hereof, lessee will be cemciisible for

.theocdinacyand customarymaintenance oftheleasedpcemise_s, 'inc_ludingbu_tnot
limited to cleaning repair or replacement ofall furnishings drapmes, `scr'éens,
lightbplbs, andanyandallglasshreakage.lhepar`¢i¢s_her¢tor'ecognize the
pmp¢rtybeing leasedr'sn¢wand¢hatits_l_idllb¢ retum¢d_tql.essaratthe
expiration of the term of this Leose Agr°éement ar any extcnsioii or renewals
hereof in a similar condition, less normal wm and teac. (Emphasis added.)

(AcopyoftheMay$,1998LeaseAgrcementis attachedherctoandincorporated
Exhibit 3.)

8. Thefebruacy?, 2000Lease for 709 Downey contains a similacparagraph
- Paragcaph 7, which provides:

7. m° ' .Fumishin§ °,Etc. Ducingthetermof_this LeaseAgreementand any
extensions or' renewals hereof, liess`ee will be responsible for the ordinary and
customary maintenance of the leamd premises, including but-not limited to
cleaning cepm or replacement of all fornishings, drapecies, screens, light bulbs
andanyandallglassbceak_age. Hoorcova'ingsafndallapplianwswillbe
replaced at the expiration of this lease Agreemnt, or any extensions or renewals
hereof, paid for from the account set up at F_irst National Bai_i_k, with Lessor and
lesseeshanngequallythe costs ofreplacement. Thefloorcoveringswillbeone
grade aboiie the then FHA minimum standard flooring The appliances rn each
rental unit will includes l - 40 gallon electric hot water hcater; l - stack/able
washer and dcyer; 1- 24" electric range; and 1- -24” iefi'igecator. lessee agrees
to pay for all`r_'epairs to appliances during this lease Agreement a_i_id any
extension occenewal hereof. ln the event an appliance is damagedbeycnd repair
by a tenant guest or invitce, lessee shall be responsible for the full replacement
ccstofsaidappliance. lesseeshallagreetoanddocsherebyacccptthc
condition of the leased premises and all finpishin'gs, appliances and fixunes
thereoii` i_o me same condition at the termination of this lease Agreement, subject
to the terms heieof.

' `(Aoopyormoaonnnyi,zowinnnoismohodnndinoaporowdnsaxmi:ii4.)
- 9. Aut_horized individuals executed various _extensioiis to the lease '
agreements through the years.
10. Fol_lowing the closing of WyoTec_h in Lararnie, Wyoming, and 1the

surrender otero reason promises by mcmann inspections invented nine 36 units on

Case 2:19-cv-00038-AB.] Document 1 Filed 02/.20/19 Page 13 of 45

. the leased properties disclosed substantial work that needed to be done to clcan. iepair,
.andmphcefumishingsmd'appliances,em.,andwothmwise*retum"meumtswa
condition similar _to their condition when they were originally leased._ Moreover,
wenth zenith failed to provide notice or non-renewal at required by the leases nnti
with respect t_o the 709 Dowri_ey Street property, washers, dciers, and garbage disposals
were removed and not replaced

ll. Despite repeated demands on Defendants to compensate Plaintiff for the
damages, repairs, etc., to me leased premises or to perform’or connect to perform the

-needed repairs, replacements etc., Defendan\s have failed or refused to lienor their
contract obligations

12. Pla_inti.ff has been unable to rent or lease the units in their current

condition and has thus lost revenue from leasing or renting the property.

FIRST C_LA_IM FOR RELIEF - BREACH OF CGNTRACT

13. Plaintiff manages and incorporates by this reference the allegations in paragraphs
1-12, inclusive d

14. attendants have bennett the above terman lease agreements manning the
extensions macon byrniiingtn restore iepnit, nnd/nrtepinnetheientndpiemisnt nntipinpaty ns

15. AsaresultofDefendants'breacliPlaintiffsareentitledtoanawardof
compensatory damages for the reasonable costs of repairing replacing and/or restoring the
subject prrrperty,v and for consequential damages for lost revemie, all in an amormt exceeding the
jurisdictional threshold ofthe District Court and to be more speciEcally proven at trial, plus

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 14 of 45

attorney fees and costs as allowed by me lease agreements

SECOND CLAIM FOR RELIEF-BREACH OF THE OOVENANT OF GOOD FAITH
AND FAIR DEALING

16. Plaintilf realleges and incorporates by this reference al_l allegations in paragraphs
l-lS, incluave.

17. The covenant of good faith and fair dealing is implied in every contract entered into
in the state of Wyoming.

18. Defendants' ennnne¢, ss hereinabove nuegen, hss net been consistent with the
agreed common purpose and justified expectations of Plaintiff, and has injured Plaintiff' s right to
reeeive me benencnfmeusse agreements `

19. As a direct result ofDefendants’ breach ofthe implied covenant ofgood faith and
fair dealing, as set forth ahove, Plaintiff is entitled to an award of compensatory damages in an
amount exceeding the jurisdictional threshold of the District Court and to be more specifically
proven at trial.

wimREFoRE, mninnff prays for judgment in irs favor end against netendenrs, fns

attorney fees, costs, and such other and further relief as the court deems proper.

Damdthisg dayof ;j¢d{¢,££j¢ ,2018.

 

P.o. nos 1557

Cheyume, WY 82003
307-638-7745

Attorney for Plaintiff

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Case 2:19-cv-00038-AB.] Documerit 1 Filed 02/20/19 Page 15 of 45

GUARANTY oF?LEAsE

'I'H]S GUARANTY OF LEASE (“Guaranty") is executed as of November 26, 2014 by ECMC Group,
lnc., a Delaware nonprofit corporation (“Gua motor"), for the bcneEt of landlord Exccpt as otherwise provided
in this Guaranty, all defined harms used herein shall have the meaning set forth in the lease Assignment and
Assumption (“Assignrnent”) to which this is attached.

WHEREAS, Assignor and Assignee have entered into the Assignment; and

WER.EAS, as an inducement to landlord to execute a consent to the Amignment, the undersigned has
agreed to guaranwe to Lendlord, from and after the Effective Date of the Assignment, the full and timely
performance of the obligations of Assignee under the Lease.

NOW, THER.E.FORE, in consideration of the execution of the consent by Landlorcl, and for other good and

valuable consideration the receipt and sufficiency of which are hereby acknowledged the parties hereto agree as
follows:

l. Guarantor unconditionally guarantees without recoupmettt or deduction by reason of setofl", defense or
counterclaim, to landlord and its successor and assigns the full and punctual payment, and the performance and
observance by Tcnnnt, of all the sums, terms, covenants and conditions in the Lease to be paid, kept, performed or
observed by Tenant. All references herein to "Tenant" shall refer to Assignee in its role as the tenant under the
Lease on and alter the Eft'ective Date of the Assignmcnt. Additionally, the term 'Tenant" wherever herein used
refers to and means any assignee or sublessee of said lease and also any successor to the mterests of said Tcnant,
assignee or sublessee of such I..ease or any part thereof whether by assignment, sublease or otherwise

2. If Tena.nt shall at any time default in the performance or observance of any of the terms, covenants or
conditions of the Leasc w be kept performed or observed by 'I`enant, Guarantor will keep, perform and observe
same, as the case may be, in_ the place and stead of Tenant. Guarantor has the right to cure any default of Tenant,
provided such cure is performed in accordance with the terms and within the time periods set forth in the Lease.
Landlord shall give a copy of any notice of default concurrently to Guarantor, but it is otherwise specifically agreed
and understood that Landlord may proceed forthwith and immediately against Tenant or against Guarantor
following any breach or default by Tenant (beyond any applicable notice or cure pe'iod) or for the enforcement of
any rights which landlord may have as against Tenttnt pursuant to or under the terms of the Leose or at law or in
equity. Notwithstanding anything in this Gusranty co the contrary, Guarantor shall have the benefit of all notice and
cure poriods, dcfcnses, and other rights that Tenant has under the Lease.

3. Any act of landlord, or of its successors or assigns consisting ofa waiver of any of the tenns or conditions
of the Leasc, or the giving of any consent on any manner or thing relating to the Lcast'., or the granting of any
indulgences or extensions of time to Terrtnt, may be done without notice to Guarantor and without releasing
Guarantor from any of its obligations hereunder.

4. The obligations of Guarantor hereunder shall not be released by landlords receipt, application or release of
any security given for the performance and observance of any covenant or condition of the Lease to be performed or

observed by Tenant, nor by any modification of the Lease, regardless of whether Guarantor consents thereto or
receives notice thereof.

5. 'I'he liability of Guarantor hereunder shall in no way be affected by (a) the release or discharge ofTenant in
any creditors receivership, banio'uptcy ocr other proceeding; (b) the impairment limitation or modification of the
liability of Tenant or the estate of 'I`enant in bankruptcy, or of any remedy for the enforcement of Tenant's liability
under the Lease resulting li‘orn the operation of any present or future provision of any federal or state bankruptcy cr
insolvency law or other statute or from the decisbn of any court~, (c) the rejection or disaft'tnnancc of the Lease in
any such proceedings; (d) the assignment or u'ansfcr of the Lease by Tenanr, (c) any disability or other defense cf
Tenant; (i) the cessation from any cause whatsoever of the liability cf Tenant; (g) the exercise by Landlortl of any
of its rights or rcmedim reserved under the Lessc or by law; or (h) any termination of the lease, except as explicitly
provided in the Lease. `

 

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Case 2:19-cv-OOQ38-AB.] Document 1 Filed 02/20/19 Page 16 of 45

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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 18 of 45

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LEASE ASSIGNMENT AND ASSUMPTION

'I`HIS LEASE_ ASSIGNMENT AND ASSUMI’TION (this “Assignrnent”) is made and
entered into as of'thc 26th day of November, 2014 by and between M.lB Acquisition Corporation
(“Assignor”) and Zenith Education Group, Inc., 'a Delaware nonprofit corporation (“Assignee”].

RECITALS

A. Assignor is the "Tenant" and SMCG, LLC is the present “Landlord” under a lease
(the “Lease”). Exhibit “A” attached hereto lists the documents comprising the Lease, which

Assignee acknowledges having received, as well as the address and approximate square footage
of the leased premises '

B. Pursuant to that certain Asset Purchase Agreernent dated November 19, 2014 (the
“Agreement”)_, Corinthian Colleges, Inc., a Delaware corporation (“Parent"}; Corinthian
Schools, Inc., a Delaware corporation (“CSI”); Everest College Phoenix, Inc., an Arizona
comoration (“BCP"); Rhodes Colleges, Inc., a Delaware corporation (“Rhodes"); Titan Sch`ools,
Inc., a Delaware corporation (“Titan"); MJB Acquisition Corporatio'n, a Wyoming corporation
(“MIB"); florida Metropolitan University, Inc., a Florida corporation (“FMU"); Sequoia
Bducation, Inc., a Califomia corporation (“Sequoia”); Eton Education, Inc., a Washington
corporation (“Eton” ; Ashmead Education, Inc., a Washington corporation (“Ashlnead"); Grand
Rapids Educational Center, Inc., a Michigan corporation (“GREC”); Rhodes Business Group,
Inc., a Delaware corporation (“RBG” ; Pegasus Education, Inc., a Delaware corporation
(“Pegasus”); and Socle Education, Inc., a Delaware corporation (“Socle” and,- together with
Parent, CSL BC_P,' Rhodes_, Titan, MJB, FMU, Sequoia, Eton, Ashmead, GREC, RBG and
Pegasus, the “Sel.lers"); Ass'ignee, as “Purchaser,” and ECMC Group, Inc., a Delaware nonprofit
corporation _("ECM ”), in its capacity as the guarantor of the obligations of Pu_rchaser under the
Agreement; Assignor has agreed to assign to Assignee, as of the “Closing Date" (detined in the
Agreement), all of its right1 title and interest in and to the Lease, and Assignee is wiiling to
receive from Assignor such assignment and to assume each and all of the obligations of the
Tenant under the Lease to be performed on and after the Efl’ective Date.

NOW, THEREFORE, in consideration of the foregoing and other good and valuable
consideration, the receipt of which is hereby acknowledged the parties hereto agree as follows:

1-. Ass'!gment. Effective as of the Closing Date under the Agreement (the
“Eft'ective _Date"), Assig:no_r hereby assigns and transfers to Assignee all of its right, title and
interest in and to the Lease for the durraion of the Lease tenn.

2- Assnrnption. Assignee hereby assumes, effective as of the Etfective Date, all
obligations of Assignor as the tenant under the Lease to be performed under the Lease from and
after the EEective Date and agrees to be bound by and perform all of the covenants, duties and
obligations to'be performed by the tenant from and after the Eft`ective Date. Notwithstanding the
foregoing, Assignee shall have no obligation liability or responsibility for any liability, eost,
expense or obligation of Assignor under the Lease that is attributable to periods prior to the
Effective Date.

 

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 19 of 45

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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 25 of 45
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THIS AGREEMENT made end entered inter effective this sch day er Mey,
-1998, by and between Curt N. Blake and Chad D. Blake, their heirs, successors
and assigns, hereinafter referred to as ”L'ESSOR", and .MJB ACQUISITION
CORP., a corporation authorized to do business in Wyoming, dfbla WYOMING
TECHNICAL INSTITUTE, hereinafter referred to as "LESSEE";

WITNESSETH:

1. wine Leased. Lessor does hereby lease and permit Lessee to
enter upon, use and occupy for the purposes and on the conditions hereinafter set
forth, the following described property situated in the City of Laramie, County of
Albany, State of Wyoming, described as follows:

Lots 3 and 4, Block 1, First Filing of Revised Montevue
Addition to the City of Laramie.

lt is understood Lesssr is going to acquire said real property and construct
two twelve (12) unit apartment complexes thereon which will be similar in style
and construction to that presently leased by Lessee located at 709 Downey Street,
Laramie, Wyoming. l

2. Condiiion Pnecedent. This Lease Agreement is conditioned ,_upon
Lessor’s acquisition -of the real property and acceptable financing -to acquire the
real property and construct the buildings thereon by May 20, 1998. If Lessoi" ,
cannot acquire said real property or financing by said date they will so notify
Leeeee by Mey 21, 1998, er whieh time this Leeee Agreement even be men end

void.

 

Case 2:19-0\/- -00038- AB.] Document 1 Filed O2/20/19 Page 26 of 45
5- I_m Un_le`ss sooner hammond a_s hereinail:er provided this Lease

Agreementahallremammfiillforceande£‘ectwrapenod ° thelsi-,dgy

of Octoher, 1998, an'd ending the 3oth day of oune, 2335, together with options to
renew as se‘t wrth herein.

 

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and a m phmshs shhl hs mill "’§l*l?-§ wl w:`f=-';of=~iowh ww'owwe loose
thereafter for the tom archie m .~ -. _‘.' , ` '

 

ten (-10) days of its du'_e di`i_'te, then -L`es_'se`s shell -h'e iii default of this Le`_ase
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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 27 of 45
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rohde aadmop.qoilo feos). d

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Le__s`eor shall he responsible for the upkeep,
mamtenanoe, repg_i'_r,- aea_li_n'_g, crack-till and painting -o__f parking appoe stripes "of
the leaaedpremieee perkins area '_. "' '._i." . i,; `;_;'_'.;.¢.= responsibilities asreed
to herein by Le‘ssor, lessee shell maintain in ii ol_e'_ai‘i rendition _a_n'd be responsible
for end aha"ll promptly l"epair- anydamase to the leased 'I. .'.. _.` perinngenea~

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Agreement and any extensions or renewals hereof,- -Lesz_aee will b_e responsible for
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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 28 of 45

 

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and any extensign Qr renewals hereof -Le's_sor shall be rssponsih_le for structural
maintenance en the lashed ~P.l'§!l_l.i§§d» maludmg the rs¢i’f, bullde ext°n°r»
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tenente. sheets er invitees

 

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.'_¢f._" .`. `__t said premises Less"se will held

Lessor harmless from _a_ny litibility whatsoevsr, including vest and rsa'snnable
attorneys fees arising nat o_f Le_'s's,ee' s leasing and si‘iiile_asin`g° iii said premises

` ` .Less'e_e ana insists tennn‘ts than njnt make sr

 

 

permit to be thefts say didtwrblis ipsi.d`dd". or do sr permit tier laft`=t whid.h W!.ll
unreasonably interfere with the rights osmforte or odsvedienose of neighboring
property owners

18. QBQQL_M lesser hereby grants ts _Lessee the optiqn_ he renew
this Lease A_gi'e_sm'eni: for two (2_) eensecutive `i_ve (5) y`e_z_`i_r terms after the
expiration of the original tenn ofth`.is Leeee .' ;§"' '_"`;_'t; PBOVIDEP;'HQWEVBB.
that the term n'f any nat renewals ofthn intend :f;"._e`nt' including int ngt
limited tn any adjustment in the rental -tn' paid hereunder shall meat with the
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lessee agree that sess renewal ef the hesse Agrssissat, mentth rem for the
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Case 2:19-0\/- -00038- AB.] Document 1 Filed 02/20/19 Page 29 of 45
..1_‘_11 -‘ ' ~ ~ ' ‘ ' Lessorahgll,attheuexpgnse,

maintain hahdxty- -ms'uranée and comprehean hazgd' msu_ranjoe on the leased
premises and pay re"all propmy taxes and assessments o_'n ='g’;ai_d prmsa hasbr
shall bear ad nespewbzh.ty What§aeye? if.e.r 1th er demise '*'°` Pm°ael

 

 

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limited te coats and reasonable ettemey's fees

    

`15. ng.g_gghgg 'L_es_ls'é_'e _s'_hé'_ll h'a'.v_e _1`;1__1_§ nght to remodel .tl__i_`a leased
premises, at its own axpens§; PROVIDED HOWEVER writta°g pem§aidn 1'6_
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- Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Peige 3_0 of 45
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v s_._n_y mapps_r. `No|_'.i_ce__s .fro'i'n Le`sse;e to .-I,iess,o_r shall be sufficient .-i_f poswd_i_n the
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B_la.ke at .'101 Mc(lo'no'sll, Lai~amie, Wyoming 82072, __a_n_d any si_ieli_ i"iotios .-'shs]l take
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_ ThislmaseAgreementahallheconstruedm
accordance with the laws of the Sts`_te` "i`i’f Wyoming

' ' __ __ 1a the event e"f any default hereendee, ;he
ii_on-'d__efaiil§i`ig party shall be entitled -to recover -_h"a'm the defaulting party all costs
and reasonsbl_e attomey'_s fees incurred ss_ s consequence .o_f said default_.
" " , ' Tlie hesso'r ogvenants a_i'i_d agnes w_it_l_i t_l_ie lessee

 

 

_ . " a`_ll t_he covenants and
conditions afqr`esaid oi_i_ the Lesses' s_ parts to he observed and performed the Ll.i"s'§¢£'.€
ehel_l end ney peaceably and quth have -he'l.d Fai_i.,<l._,-'siiidi ithé ms ‘f¢.r fha
wm aforesaid widest hindrance er -aeleeaaee bylaw nasa hansen re
the terms of this lease hammer er east movement hereinbefore assume

 

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 31 of 45
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this L'Eiise_: _ si`i_'t '.ths day-'a'ndiyesr E_i'i`it abovewi'ittsn.

 

 

 

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Case 2:19-@293>8-,0\&] Document 1 Filed 02/2QL1;9" Page 32 of 45

` MM
mrs masat/mmr made end aimed ime effective this D_!-"; day ei
Ee,b~§q¢' , 2000, by and between ROBERT D. BLAKE and RUTH I. BLAI<E
husband and wife, hereinafter referred to as "LESSOR", and M]B ACQUISITION CORP.,
a corporation authorized to do business in Wyoming, d/ b / a WYOM]NG TECHNICAL
ll\lS'l'l’I'UTE, hereinafter referred to as "LESSEE";
WI 'I' N 1:` S S E TH:

1. he_n_i_is_es_l_£a§_ed. Lessor does hereby lease and permit Lessee to enter
upon, use and mpy for the purposes and on the conditions hereinafter set forth, the
renewing deserves preperry eimeied in the city er Lei-emie,. ceimiy et .Aiheny, since
of Wyoming, described as follows:

I..ot 2, Block 1, First Filing of Revised Montevue Addition` to the City of

laramie.

2. ’_I`_e__rp_i_. Unless sooner terminated as hereinafter provided, this Lease
Agreement shall remain in full force and effect for a period beginning Iuly 1, 2000, a°nd
ending Iune 30, 2005`, together with options to renew as set forth herein

3. _I_{_ep;a_l_. Lessee agrees to pay to Lessor, as rent for the use of the leased
premises, the sum of Four Thousand Six I-Iundred Eighty and No/ 100 Dollars
($4,680.00) per month A payment of Foui.' Thousand Six Hundred Eighty and No/ 100
Dolla.rs ($'4,680.00) shall be paid on ]uly 1, 2000, and a like payment shall be made on the
first day of each consecutive month thereafter for the term of this Lease Agreement. In
addition ~to the payments described above, the parties hereto agree to use the existing
account diet was ser up for the Leaee Agreemeni daiedMey 11, 1992. said aeeeuni shell
constitute payments in advance of lessees responsibility to replace and/ or repair floor
coverings and appliances as required in Paragraph 7 hereof. Upon any renewal,

termination or expiration of this l..ease Agreement, and Written notice thereof from

Case 2:19-§/_-'0£9§8-,0\&'] Document 1 Filed 02/2@ Page 33 of 45

.lesseeattheecpdadmofthis£easengreemmt,lessmychargsfmdamag$wdie
leased premises -or appliances therein or fixtures thereto; and-less »any» reasonable '
_ change for cleaning andrestoringthe°leased premises to die'same oondition.as it\was.on
.Mey 11, 1992.

I.n the event lesséefailsto make any payment as.setforth hereir_l, within ten (l0)
days et its due dnre,.then rim shall-be in default er this -Lcesc.Agicemen't, in which
case.l‘.essor-"r'nay either'elect to specidcally enforce|iuslieaseAgeement, o'rlessormay-'
evict lessee and re-'enter with lor without presses of law and==in a'ny manner resume
_peesessien er the lessee premises subject te the ._pteyisiens et rangith 17 .heteer.
lesser shin-hitte.i liennghten any ind ell~er.teeeee's petersen piepenyleeibed-.en the
Me‘d premises

If'any payment of,reiit is ~'not'-'made as prowdedheremwithm ten (Io)}day.szafter~
the-dale due, Lessee shall .pay_ a late rec in thc amount of flveperccnt (5%‘~`) of'such late
payment of rent. In the event any' payment of rent continue to remain .unpai°d for
thirty (30) days atbe_r said-payment is due, Lcssee. slinllpay 'iribcre'st onithe-intp‘iiidirdit'at.
a rate-of eighteen_pereent'(l$%) per-annum from.the E`rst-daysuch paymentis-due until
.such. rerit.-is~paid`. All- payments made by l.esseeshallbe~'applied first to.-interest.and
penaltiathmto rentandthentoannualpaymenis dueinadvanee.

' 4, ti@§g -liessee, eni-ing- ecctipency er the-~lccsct`l;.ptcmiscs,-. shell pay ei'tc
hundred percent "(100%;. 'ef en charges nccniing-‘-iei gee,-electricity-, -We .ctlilcf ~
television and-city services (including water, sewe'r, dump,..snpw removal refuse and-

mosquito fees).

5. gm_gg Lcsspr shall‘be responsible ier~lheirpkecp,-mainbermncclaitd '
repair, sealing and crack~fill of~the leased premisesl parlcing'areai .Exceptin‘g=the speci§c~
mcneilsihiiitiee-ngima_tehetein by lessen Lcssee shell maintain in n eisen cmtditien
and be responsible for and shall promptly repair any damage 'to the leased premises'

Case 2:19-cv-00038-AB.] ‘Document 1 Filed 02/20/19' Page 34 of 45

walksland-parldng-.-lot.areas~:of-tlte'leased prerttt' ~'ses~ intaceot'dartee._w`itlt.eppli~éhleeity~
is . ' . »
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During thetermoftl'us'l.easeAgreementand
any -e)€hensiorls=oc renewals heteof, _Le'ssee will,'-be.~=le§j>o`nsible~for~~tl'le ordinary and
customary maintenance ot-tlte leased preattses,' inclucl`tt`tg.htrt.not llrrtiterl .ro.-cleattlrtg.,__
repair or.replsoe'rr:tenttof-all-.turrtisltings,odraperlest,:scteens,_.=hgltebttlss~_anal,ratty~artatali-'
glass breakage l-"loor ooverirtgs arts an-apphanoea-wtllahe»replaoearat tlreercprratton of
this L'easeAgcec-zm`ent, or any exten'simls or renewals hereof, paid- for fr'om' the account
set up at First Na"tibnal =Bank, with Lessor and Lessee. shanng. equally the c`o‘sts~ o`f"'.
rl.'epl`a¢lertlent. The~floor coveringswillbeone grades abovedle&lenFHAnummum
startaattl floor-lng l'~rlte apphartaes meadtrerttalurtrtwtll mcluae:-. -l-- 40 gallon etcctrrc-. .
hot water heater; 1 - stackable washer and dryer; 1 - .24," electric.range; aild 1- 2 " "':'
re&igerator. Le‘ssee agrees;.t'o- pay for all repairs=_voaappl`ianee§.:duair'tg-:tl_'tis Lea'se
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the. same condition-at 'the termination of=-tt`lis leaseAgreement,sub]ectto&leterms n
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which.eonsent'sha]l-:notlbe‘unreasonably vvitllheld'.oridéla';ved. Consmt willl`be_-,given,-if.- '-
.a`smgnee or'u'ansf'exee is as financially responsible asil'as's‘ee~, or-lislatllefw‘i§e§nanclall`y '
responsible L'essee agrees_tha`t in all written sub'-'leases with itenant's-: of \th`e lleased -
_premim-,~ said ltertattt_tllt.ltha'tll-lte,de'rti'edl the ability .`to-._s_t'o‘re,-tmairitairt.or aseaat'yf:barbecue
or hibachi 'of anv time on.anv portion-of.'the-leased» orenii§e`s~at anv'tt'ime.

Case 2:19-<¥-022§8-4\&] Dooument 1 Filed 02/2Q/l9 Page 35 of 45

parking lot, major plumbing not caused by the negligence of the henants, guests or
invitees.

10. lisa `L'ssee shall not suffer or. permit the leased'_premisesrto=be=used for
_any unlawful purpose or-in an improper manner contrary to law or ordinance, nor
permit any liens to be fihd against the leased prendses. I'.essee will hold 'Lessor
harmless from any liability whatsoever, including cost and-reasonable attorney‘s fees
arising ottt-o'f Lessee's leasing and-subleasing'of theleased~'premises.

11 _Lmlnehew£ Lessee andl.essee'stertartisshallrtotmal<leorperrrtil
to be made any disturbing noises, or do or permit any act which will unreasonably
interfere with the rights, comfortsor_ commences of neighboring property owners

12. _Qp'_`ti¢_)iisfo_£mei_’vr. Lessor hereby grants-tolerates the option=to ratew
thisI-.;ease Agreernen't'for two' (2) consecutive five (S) yearterms after theelyiration of
the original term of this lease Agreeinerlt; PROVHJED, HOWEVER, that.|he terms of
any such renewals of this lease Agteernertt including hutnot lintitecl- to artyacljustrrtent
in the rental to paid `hereunder, shall meet with the mutual tapproval.:ot""b'oth'of_the
parties to ~this lease Agreement. In the event lessee elects toexercise the='o`ptlons
described herein, witten-notice thereof must be provided‘to Dssor'no-late'rthan-March _.
31, 2005~and March 31,-2010, respectively

13. hemoase_an_§meer_rylee. Lessor shall 'at..~tlteir expense maintain
liability insurance and.comprehensive hazard insurance on- theleasedprenusesand pay
treal property taxes and assessments on the leased premises besser-shall bear no
responsibility whatsoever for loss or damage to personal property locawd within or
about the leased preinises, or for personal injury or death of any tenant, guest'or
invitee thereof, -and lessee agrees to indemnify and hold'\.l'.ess¢`lr harmless from any and
all-liabilityunaer archdrcuntstancea, including hutnatlintitesl to costsana:reasonahle
attorneys fees. v

Case 2:19-¢\-¢00038-AB.] Document'l Filed 02/2@ Page 36 of 45

There shallbe'no structural changes made to theleased'premise`s.bybe'ssee.

15. Kgyg. .Lessee.-from time to time, in its discretiol'iiand at its-cost.shall be
permitted to change the locks on theindividual units irl-the"leased premises, provided
however at all ames-lessor shall be endd'sd to msirltiiin i'n theirpossessiono"master"
key for the leased -];lriel'rlis'esi

16. lgsgm,grn Lessor, or their designated agent, may inspect the leased
premises at=any reasonable time upon advance noliceto lessee..

11. garage 'ln the event of any default of lessee under die.ernis.hereoti~iii
the'event said default continues for a period of ten (10) days~£ol'lowing'L'essoiis written
notice to lessee lessor shall=b'e'entitled to terminate this Le`ase-Agreement in their sole
discretion and remove any.tenan'ts from the premises:witl'l or'witllout-process.of~law‘ '
following thirty:(ao). days watten.noiioeto said ieinnts. lntlie event of-soch ii default _
and termination lessor shall be'entitled to retain as liquidated -damagei_l, the full
amount of any deposits:paid by lessee in accordance with‘the terms hereof.

is. mg Notices lion lessor to lessee sholi'li~e sotdcieiit ii posted in the
Unitcd states mails,. postage prepaid addressed to WYol'/HNG -'r'iic'in\iical
iNsi"rrU'rB 4373-North ard, Laremie, wyoming 82072, o/o.Diieeiior diopnodom, any
soon notice shall tile effect iii die time oi_tlic mailing diesel -Noiice.eoin.l.esioi to
lessee shall also be sufficient ii hand delivered to lmsce meny.menner. Nodees~troni
l.essee'to lessorshallbe.sufficierit if posted.in the UnitedtStates-rnails-, postage=prepaidi
addressed to Lessor at 101 McConnell, Larainie, Wyoming82072, and any such notice
shaualtcescctettheiinieofnioilingdiercot.

_ 19. gmg. niiel.ecse egreeinent, is serne.snd condiiionssiisllbcbinding
upon and shall insure to the benefit of the respective parties hereto, their heirs,
successors, and personal~representatives.

20. M. "l'his Lease.Agi-eement sliall'be construed in.accordance

Case 2:19-C -OOOSS-AB.] Document 1 Filed 02/2 19 Page 37 of 45 _

reasonable attomey-‘s fees incurred asa-consequence of said default
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Agreement or other instri.unent hereinbefore mentioned

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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 38 of 45

§§ CT Corporation

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CTPro o y (Recipient Aocount Only)
8020 Excegior Dr Ste 200
Madison, Wl 53717-1998

RE: Prooess Served in Wyoming
FQR: Zenith Education Group, |nc (Domestic State: DE)

Service of Process
Transmitta|
02/04/2019

Cl’ Log Number 534856078

EXHIBI'I` B

EXHIBIT B

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|NC., ETC., DF|'S.

DOC\INEN'|'(B) SERVEB= SUMMONS, PREC|PE, COMFLA|NT, EXH|BIT(S)

cous'r/eei-:ncv= ALBANY COUNTY - SECOND JUD|CIAL DISTR|CT COURT, WY
Case # 34764

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221 Ea$t 215t Street
P.O. Box 1557
Cheyenne, WY 82003
307-638-7745

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Email Notification, Madison Team ctsop@ctpmcomply.com

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Cheyenne, W¥ 82001-3527
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Page1of1/RA

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me recipient for quick reference Thts lnionnatbn does not
constitute a legal opinion as to the mature of action, the
amount of damages me answer date, or any information
contained in the domens themselvs. Reclplent ls
responsible for interpreting said documents and for taking
appropriate action. Slgnatures on certified null receipts
confirm receipt of psdmge only, not contents

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 39 »

EXHIBIT C

Douglas B. Tumminello, #7-5653
l_,ewis Roca Rothgerber Christie LLP
l200 17th Street, Suite 3000

Denver, CO 80202

Phone: (303) 623-9000

E-mail: dtumminello@|rrc.com

lN THE DISTRICT COUR'I` FOR THE SECOND JUD]CIAL DISTR]CT

STATE OF WYOMI'NG, COUNTY OF ALBANY

SMCG, LLC, A Wyoming Limited
Liability Co.,

Plaintiff, Docker No. 34764 '

VS.

ZENITH EDUCATION GROUP, INC.,
A Delaware nonprofit corporation, and
ECMG GROUP, INC., a Delaware
nonprofit corporation,

Defendants.

 

NOTICE OF FILING OF NO'I`ICE OF REMOVAL

 

TO THE HONORABLE JUDGES OF THE DISTRICT COURT,

NOTICE IS I-IEREBY GIVEN that on the 19th day of February, 2019, Defendants
Zenith Education Group, Inc., and ECMC Group, Inc. (“Defendants”), filed a Notice of

Removal of this action in the United States District Court for the District of Wyoming. See

Exhibit 1. ln accordance With 28 U.S.C. § l446(d), this Court shall proceed no further unless

and until the case is remanded

l07304350l

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 40 of 45

Respectfully submitted this 19th day of February, 2019.

LEWIS ROCA ROTHGERBER CHRISTIE LLP

115/swl

Douglas B. Tummin 1110\#9"5'6'5'{

1200 17th Street, S itc 3000
Denver, CO 80202

Phone: (303) 623 9000

E-rnail: dturnminello@lrrc.com

 

Atzorneysfor Defendants

CERTIF]CATE OF SERVICE

I hereby certify that on this 19th day of February 2019, a true and correct copy of the
foregoing NOTICE OF FILING OF NOTICE OF REMOVAL was served electronically by
cmail and by U.S. mail to:

I-lenry F. Bailey Jr., Esq.

Douglas W. Bailey, Esq.

Bailey Stock I-larrnon Cottam Lopez LLP
221 East let Street

P.O. Box 1557

Cheyenne, WY 82003

307-638-7745

Atlorneys for Plaintijjf

/ Q/WW ‘

Douglas B. Tumminell

LEWIS ROCA ROTl~l ER_BER CHRISTIE LLP
1200 17th Street, Suit' 3000
Denver, CO 80202 j
Phone: (303) 623-9 00

E-mail: dtumminello@lrrc.corn

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Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 41 c 45
’ EXHIBIT 1)

From: Doug Bailey [mai|to:doug@performance-law.com]
Sent: Wednesday, August 29, 2018 8:23 AM

To: Eness, Natalie

Subject: RE: B|ake/Zenith; Downey Street Apartments

Natalie,

Unfortunate|y. Curt made an error in his spreadsheet that affected the Grand Total Estimate.
Apparent|y, exterior costs were not being added to the total |'ve attached a corrected version of the
DETA|LED REPA|R COSTS FOR ZEN|Tl-l. The Grand Total is $555,465. | 5.

Let me know how you’d like to proceed.

Doug

once (307) 638-7745
Fax (307) 638-7749

www.perfgrmance-|aw.gom

CONF|DENT|AL|TY NOT|CE

This e-mai| transmission, and any documents, files or previous e-mai| messages attached to it may contain
information that is confidential or legally privileged |f you are not the intended recipient or a person responsible
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that any disclosure, copying, printing, distribution or use of any of the information contained in or attached to this
transmission is STR|CTLY PROH|BITED. if you have received this transmission in error, please immediately notify
the sender by telephone or return e-mail and delete the original transmission and its attachments without reading
or saving in any manner. Thank you.

From: Doug Bailey

Sent: Tuesday, August 28, 2018 1137 PN|

To: Eness, Natalie <neness ecmc.or >

Subject: Blake/Zenith; Downey Street Apartments

Natalie,

Attached. please find a repair cost estimate from my client. with the total being $349,969.29 for the 36
units.

Please note the following:

|. This amount applies only if Zenith makes no repairs and Curt has to do the work himself or
sub-contract it out.

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 42 of 45

2. Curt is willing to listen to any counter-proposals you have and is open to lower estimates if
Zenith goes out and obtains its own estimates and finds less expensive sub-contractors or
materials

3. Curt will not agree to split the cost of the washers, dryers, and garbage disposa|s in 709. The
709 Lease states, “|n the event an appliance is damaged beyond repair by a tenant, guest or
invitee, Lessee shall be responsible for the full replacement cost of said appliance." Curt has a
handwritten note dated March 25, |993 that says all of the washers and dryers were removed
because they were “trashed." ln other words, they were damaged beyond repair and need to be
replaced by the Lessee. The same is true for the garbage disposa|s in 709.

4. Curt will agree to split the cost of new stoves, refrigerators. and range hoods at 709 in
accordance with the 709 Lease, but believes Zenith is fully responsible for appliances in 7| 5 and
72| because of the language requiring it to return the units in a similar to new condition, less
normal wear and tear.

5. Throughout the history of these Leases, there were never any damage deposits collected
because it was understood by all parties that the units would be returned in like-new condition
at the end of the |ease. The understanding was that the units would undergo a full refurbishing at
the end of the |ease.

6. The lost income Curt has included in the attached sheet only accounts for the month of
Septernber. He will be seeking lost income for each month the units are unable to be rented out
due to their condition, calculated using an 80% occupancy rate.

7. Attorney fees are also included in the attached sheet as allowed in the Leases.

Again, Curt stresses that he’s willing to negotiate, but the longer this carries on, the more money he
loses. Also, he’s spending considerable time and money on this when Zenith should have had the
apartments in like-new condition at the expiration of the term.

P|ease let me know what your client wants to do. lf we do not receive a reasonable offer to settle by
next Wednesday, Curt will file suit.

Doug

office (307) 638-7745
Fax (307) 638-7749

www.performance-law.com

CONF|DENT|AL|TY NOT|CE

This e-mai| transmission, and any documents, files or previous e-mail messages attached to it may contain
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that any disclosure, copying, printing, distribution or use of any of the information contained in or attached to this

Case 2:19-cv-00038-AB.] Document 1 Filed 02/20/19 Page 43 of 45

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the sender by telephone or return e-mai| and delete the original transmission and its attachments without reading
or saving in any manner. Thank you.

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